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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION
In re:
                                                           Chapter 13
Cynthia Olivares Gonzalez,
                                                           Case No. 17-20665-RBR
         Debtor.
                                           /


                       ASSET MANAGEMENT HOLDINGS II, LLC'S
                   OBJECTION TO CONFIRMATION OF DEBTOR’S PLAN

         Asset Management Holdings II, LLC (“Secured Creditor”), through counsel, files this

Objection to Confirmation of Debtor’s Chapter 13 Plan, and states as follows:

                                    I.     BACKGROUND

         1.    The Debtor, Cynthia Olivares Gonzalez (the “Debtor”) filed a voluntary petition

pursuant to Chapter 13 of the United States Bankruptcy Code on August 23, 2017.

         2.    On September 6, 2017, the Debtor filed a Chapter 13 Plan (Doc. No. 12) (the

“Plan”).

         3.    The Plan confirmation hearing is set for January 18, 2018 (Doc. No. 25).

         4.    The deadline to file Objections to the Plan is January 4, 2018 (Doc. No. 25).

         5.    Secured Creditor holds a security interest in the Debtor’s real property located at

2400 Northeast 16th Street, #109, Pompano Beach, Florida 33062 (the “Property”) by virtue of a

mortgage, recorded in Official Records Book 40647, at Page 809, of the Public Records of

Broward County, Florida (the “Mortgage”). The Mortgage secures a note in the original amount

of $50,000.00 (the “Note”). The Note and Mortgage are collectively referred to as the “Loan

Documents.”
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           6.       Secured Creditor intends to file a proof of claim that will show the total secured

debt of approximately $87,979.78 and arrearages of approximately $42,056.34.

                                  II.      OBJECTION TO CONFIRMATION

           A. The Plan seeks to improperly value Secured Creditor’s claim

           7.       Secured Creditor objects to Debtor’s Chapter 13 Plan due to the fact that it fails to

provide for full repayment of Secured Creditor’s second mortgage arrearages and regular

monthly mortgage payments on the Debtor’s principal residence as required pursuant to 11

U.S.C. §1322(b)(2).

           8.       Pursuant to the Debtor’s Bankruptcy Schedules (Doc. No. 7), the Property is the

Debtor’s principal residence, has a value of $149,990.00, and is encumbered by three secured

claims. A first mortgage on the Property held by Ocwen Loan Servicing is listed with a secured

claim in the scheduled claim amount of $116,929.00. The Debtor did not include any treatment

for this claim in the Plan, stating in the section titled “Other Provisions Not Included Above” that

the Debtor is seeking to modify this loan and payments will be made directly.

           9.       Next, is Secured Creditor’s claim, with a scheduled claim amount of $50,000.00.

In the Plan, it appears that the Debtor is seeking to value the second mortgage claim to a secured

claim of $33,061.00 (which is $149,990.00 less the first mortgage amount of $116,929.00) at an

interest rate of 4% over the 60 month term of the plan (with payments of $608.87 per month

totaling $36,532.20).

           10.      The Debtor also listed a claim held by BDM Property Management in the amount

of $2,200 for HOA. The Debtor included arrearages payments to the HOA totaling $2,200 in

addition to regular payments.1

           11.      Debtor is seeking to modify the terms of the Mortgage with Secured Creditor.
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    An objection has been filed with regard to the Debtor’s proposed treatment of this claim. (Doc. No. 30).


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       12.     Not only is the Property listed as the Debtor’s principal residence on the Petition

(Doc. No. 1), according to the Broward County Property Appraiser, Debtor has claimed the

homestead exemption on the Property. A true and correct copy of the Broward County Property

Appraiser printout is attached hereto as “Exhibit A” and is incorporated by reference. Once

acquired, homestead status is retained until the property is abandoned or properly alienated. In re

Rogers, 396 B.R. 100 (Bankr M.D. Fla 2008).

       13.     If, as Secured Creditor believes, its mortgage is secured only by a security interest

in real property that is the Debtor’s principal residence, said mortgage lien cannot be stripped

unless it is wholly unsecured. 11 U.S.C. §1322(b)(2). Nobleman v American Savings Bank, 508

U.S. 324, 113 S.Ct. 2106 (1993).

       14.     Secured Creditor maintains that the loan cannot be stripped or reduced because it

its lien on the Debtor’s principal residence is not wholly unsecured.

       B. The value and interest rate in the Plan are insufficient

       15.     Moreover, to the extent that the Debtor is permitted to value Secured Creditor’s

claim, Secured Creditor disputes Debtor’s contention that the fair market value of the property is

$149,990.00 and requests an opportunity to have its own appraisal done prior to any hearing

determining the claim value.

       16.     Further, Debtor is proposing to reduce the mortgage interest rate to proposed

interest rate of 4%, which Secured Creditor maintains is inadequate to assure that property

distributed to Secured Creditor under the plan on account of its secured claim will have a value,

as of the effective date of the plan, that is not less than the allowed amount of such claim. In Till

v. SCS Credit Corp., 541 U.S. 465, 124 S.Ct.1951 (2004), the Supreme Court addressed the

appropriate cram down interest rate under §1325(a)(5)(B)(ii). Till adopts the “formula approach”




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which begins by looking at the national prime rate, reported daily in the press, and then adding

an appropriate “risk adjustment.” Although Till does not specify what that risk adjustment should

be it states that courts have generally approved adjustments of 1% to 3%. Accordingly, Secured

creditor maintains that, without evidence why a different adjustment should be used, a risk

adjustment of 2% should be reasonable. The prime rate, as published in the Wall Street Journal,

is currently 4.50%. Accordingly, secured creditor maintains that the Court should not approve a

cram down interest rate less than 6.50%.

       17.     Pursuant to §§1322(b)(2) and 1325(a), Secured Creditor objects to Debtor’s

Chapter 13 Plan as it proposes to impermissibly modify the Secured Creditor’s claim by

remitting a lesser amount of arrearages, fees, and costs than that which Secured Creditor is

entitled; thus, the Chapter 13 Plan is not confirmable.

       18.     Secured Creditor has incurred attorney’s fees as a result of the necessity of filing

this Objection to Confirmation has agreed to pay its undersigned attorney a reasonable fee for its

services, and Secured Creditor is entitled to reimbursement by Debtor of such fees incurred in

this matter.

       WHEREFORE, Secured Creditor respectfully requests entry of an order which denies

confirmation of the Debtor’s, proposed Plan unless such plan is amended to overcome the

objections of Secured Creditor as stated herein, or, in the alternative, for dismissal of the case

pursuant to of 11 U.S.C. §1307(c)(5), and that Debtor be required to pay Secured Creditor’s fees

incurred in filing this Objection to Confirmation, and for such other and further relief as to the

Court may deem just and proper.

       Respectfully submitted this January 2, 2018.

                                                      /s/ Margaret E. Kepler
                                                      Margaret E. Kepler



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                                               Attorney for Asset Management Holdings II, LLC

                                     CERTIFICATE OF SERVICE

       I hereby certify that on January 2, 2018, I served a copy of the foregoing Objection to

Confirmation of Debtor’s Second Amended Plan electronically via CM/ECF or via U.S. mail to

all parties/attorneys on the list to receive service/notice in this case, including but not limited to

the following:


        via CM/ECF
                                                              April Harriott
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                                                              /s/ Margaret E. Kepler
                                                              Margaret E. Kepler



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            "EXHIBIT A"
1/2/2018                      Case 17-20665-RBR                  240031
                                                                Doc   NE 16Filed
                                                                           STREET #109
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            Site Address          2400 NE 16 STREET #109, POMPANO BEACH FL 33062                    ID #         4843 30 AH 0090
            Property Owner        GONZALEZ,CINDY                                                    Millage            1511
            Mailing Address 2400 NE 16 ST #109 POMPANO BEACH FL 33062                               Use                 04

            Abbreviated           VILLA RIO CONDO UNIT 109
            Legal
            Description
                 The just values displayed below were set in compliance with Sec. 193.011, Fla. Stat., and include a
                           reduction for costs of sale and other adjustments required by Sec. 193.011(8).
                                                    Property Assessment Values
                     Click here to see 2017 Exemptions and Taxable Values as reflected on the Nov. 1, 2017 tax bill.
                                             Building /              Just / Market           Assessed /
              Year          Land                                                                                       Tax
                                           Improvement                  Value                SOH Value
              2018         $15,000             $134,990               $149,990               $115,620
              2017         $15,000             $134,990               $149,990               $115,620               $1,629.65
              2016         $12,260             $110,340               $122,600               $113,250               $1,583.28

                                       2018 Exemptions and Taxable Values by Taxing Authority
                                                    County             School Board           Municipal              Independent
            Just Value                             $149,990                  $149,990          $149,990                 $149,990
            Portability                                     0                        0                  0                           0
            Assessed/SOH 10                        $115,620                  $115,620          $115,620                 $115,620
            Homestead 100%                          $25,000                   $25,000           $25,000                  $25,000
            Add. Homestead                          $25,000                          0          $25,000                  $25,000
            Wid/Vet/Dis                                     0                        0                  0                           0
            Senior                                          0                        0                  0                           0
            Exempt Type                                     0                        0                  0                           0
            Taxable                                 $65,620                   $90,620           $65,620                  $65,620

                                      Sales History                                            Land Calculations
                    Date       Type       Price           Book/Page or CIN           Price              Factor           Type
              9/23/2005        WD       $250,000            40647 / 782
              3/24/2004        TD         $100              37525 / 1835
               2/9/2001       QCD         $100              31476 / 1990
              3/16/2000        WD       $76,000             30348 / 1218
              12/3/1996        WD       $77,000             25726 / 275                   Adj. Bldg. S.F.                930
                                                                                         Units/Beds/Baths                1/2/2
                                                                                         Eff./Act. Year Built: 1973/1972

                                                           Special Assessments
               Fire        Garb        Light        Drain          Impr       Safe         Storm            Clean            Misc
               15
                R
                1




http://www.bcpa.net/RecInfo.asp?URL_Folio=484330AH0090                                                                                  1/1
